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                       Exhibit “4”
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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO.: 20-CV-81205-RAR

   SECURITIES AND EXCHANGE
   COMMISSION,

            Plaintiff,

   v.

   COMPLETE BUSINESS SOLUTIONS
   GROUP, INC. d/b/a PAR FUNDING, et al.

         Defendants.
   ______________________________________/

             [PROPOSED] ORDER (1) APPROVING PROOF OF CLAIM FORM; (2)
          ESTABLISHING CLAIMS BAR DATE AND NOTICE PROCEDURES; AND (3)
           APPROVING PROCEDURE TO ADMINISTER AND DETERMINE CLAIMS

            THIS CAUSE comes before the Court upon Receiver, Ryan K. Stumphauzer’s

   (“Receiver”) Receiver’s Motion to Establish and Approve: (1) Proof of Claim Form; (2) Claims

   Bar Date and Notice Procedures; and (3) Procedure to Administer and Determine Claims (the

   “Motion”) [ECF No. _________]. 1

            Having reviewed the Motion, any responses or objections to the Motion, and any reply in

   support of the Motion, this Court finds that: the relief requested in the Motion is in the best interests

   of the Receivership Estate, potential Claimants, and all other parties; notice of the Motion was

   good and sufficient under the particular circumstances and that no other or further notice need be

   given; and based upon the record herein and after due deliberation it is hereby

            ORDERED AND ADJUDGED that the Motion, together with the exhibits, instructions

   and other attachments thereto, is GRANTED and approved in all respects, as follows:




    1
        Capitalized terms not defined herein shall have the meaning ascribed to them in the Motion.


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           1.     Objections Overruled. All objections not withdrawn or resolved by this Order

   are overruled in all respects.

           2.      Claims Bar Date. This Court hereby establishes 11:59 p.m. (prevailing Eastern

   Time) on ___________________, 2023 (“Claims Bar Date”), as the deadline for Claimants and

   Administrative Claimants to submit a completed and signed Proof of Claim Form under penalty

   of perjury, together with supporting documentation against one or more of the Receivership

   Entities.

           3.     Claims Procedures. The Claims Procedures, including the Proof of Claim Form,

   Notice of Claims Bar Date and Procedures for Submitting a Proof of Claim (the “Notice of Claims

   Bar Date”), and Notice of Claims Bar Date for Publication are approved substantially in the form

   attached to the Motion.

           4.     Eligibility to Submit a Proof of Claim. All Claimants and Administrative

   Claimants asserting or who believe they are entitled to assert a Claim or assert a right to distribution

   from the Receivership Estate, regardless of whether the Claim is held with or through any

   individual or entity or based on a primary, secondary, direct, indirect, secured, unsecured,

   unliquidated or contingent liability MUST timely and properly submit a Proof of Claim.

           5.     Professional Claims and Intercompany Receivership Claims. Holders of

   Professional Claims will not be required to submit a Proof of Claim. The Receiver will continue

   to satisfy Professional Claims in the ordinary course of the Receivership and in accordance with

   prior or future Court orders, as appropriate to the claim or pursuant to a Court approved distribution

   plan. Intercompany Receivership Claims among and between the Receivership Entities are

   preserved without the requirement of the filing of a Proof of Claim by the Receiver at this time.




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   Any such Intercompany Receivership Claims as appropriate will be subject to a Court approved

   distribution plan.

          6.      Notice Process. The Receiver shall provide the following notice in satisfaction of

   the due process interests of Claimants and Administrative Claimants:

                  a.      Timing and Substance of Notice.

          The Receiver shall provide notice to Claimants within forty (40) calendar days of entry of

   the Bar Date Order. The notice will include: (i) the Proof of Claim Form (substantially in the form

   of Exhibit 1 to the Motion), and (ii) the Notice (substantially in the form of Exhibit 2 to the Motion

   for those who receive direct notice, and substantially in the form of Exhibit 3 to the Motion for

   those who receive notice by publication).

                  b.      Means of Serving Notice.

          The Receiver shall provide notice to Direct Claimants and Administrative Claimants: (a)

   by United States first class mail (for those Direct Claimants and Administrative Claimants with a

   last known mailing address within the United States) and, if an e-mail address is available for a

   particular Direct Claimant or Administrative Claimant, by e-mail; and (b) by any method the

   Receiver deems reasonable in his sole and absolute discretion (for those Direct Claimants /

   Administrative Claimants without a last known address or with a last known address outside the

   United States). Upon return of any service item through United Sates first class mail as

   undeliverable, the Receiver shall employ the following protocol:

               (a) If the United States Postal Service (“USPS”) provided notice of an updated
                  address as part of the undeliverable process or through a National Change of
                  Address (“NCOA”) search, notice will be resent to the new address as provided
                  by the USPS;

               (b) If the primary address in the records of the Receivership Estate is not marked as
                   undeliverable and the mail is still returned but we have a secondary address that
                   matches the address on a W-9 provided by the claimant, notice will be resent to
                   the secondary address;


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              (c) If the primary address was previously undeliverable without a USPS update,
                  notice will be resent to any secondary address within the records of the
                  Receivership Estate. If the USPS provides notice of an update to the secondary
                  address as part of the undeliverable process, notice will be resent to the new
                  secondary address provided by the USPS;

              (d) If no secondary address is readily available, Epiq will research the NCOA
                  database for one, and notice will be resent to the new address identified in the
                  NCOA database.

   Complying with this protocol for serving notice to Direct Claimants and Administrative Claimants

   with last known mailing addresses will satisfy the Receiver’s notice requirements.

                  c.      Individuals and Entities to Receive Notice by Mail.

          The Receiver shall provide notice by mail on the following known individuals or entities

   (including, without limitation, partnerships, corporations, joint ventures, estates, trusts, and

   governmental entities or authorities):

                  i.      Direct Investors

                  ii.     Former Employees of the Receivership Entities;

                  iii.    Other Known Creditors;

                  iv.     Pre-Receivership Litigants;

                  iv.     Administrative Claimants; and

                  v.      Federal, state, local or other governmental entities or authorities who may

   assert a Claim for taxes arising from or attributable to tax periods ending on or before July 27,

   2020, even if the taxes are due and payable subsequent to July 27, 2020;

                  d.      Notice by Publication.

          Notice by publication to Other Potential Claimants shall be provided in the following

   manner.




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                  1.      Timing of notice.

          Notice by publication shall be provided within forty (40) calendar days of entry of the Bar

   Date Order.

                  2.      Substance of notice.

          The Notice to be provided by publication shall be substantially in the form of Exhibit 3 to

   the Motion.

                  3.      Means of publishing notice.

          The Receiver shall publish the Notice of Claims Bar Date to Other Potential Claimants by

   publication in: (a) the New York Times, USA Today, Philadelphia Inquirer, Palm Beach Post, Fort

   Lauderdale Sun Sentinel, and Orlando Sentinel; and (b) such other publications, if any, that in the

   Receiver’s sole and absolute discretion are reasonably calculated to provide notice to Other

   Potential Claimants and Administrative Claimants.

                  e.      Notice by Press Release and Posting to the Receiver’s Website.

          Not later than fifteen (15) calendar days after entry of the Bar Date Order, the Receiver

   shall issue a press release and post it for review on the Receiver’s website

   (http://www.parfundingreceivership.com/) along with the (i) Notice of Claims Bar Date, and (ii)

   Proof of Claim Form.

                  f.      Notice Upon Inquiry.

          Copies of the Notice of Claims Bar Date and the Proof of Claim Form shall be made

   available not later than fifteen (15) calendar days after any Claimant or Administrative Claimant

   makes a written request for such documents to the Claims Agent’s e-mail address:

   parfunding@epiqglobal.com or to the Claims Agent’s mailing address: Par Funding Receivership




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   Claims Processing Center, c/o Epiq Corporate Restructuring, LLC, P.O. Box 4421, Beaverton, OR

   97005.

                   g.      Notice of Claims Bar Date and Proof of Claim Form Available Online.

            Not later than fifteen (15) calendar days after entry of the Bar Date Order, copies of the

   Notice of Claims Bar Date and Proof of Claim Form will be available by downloading them from

   the Receiver’s website (http://www.parfundingreceivership.com).

                   h.      Notice to Counsel.

            Where the Receiver has notice that any Direct Investors, Other Known Creditors,

   Administrative Claimants, or other individual or entity, who is entitled to notice, is represented by

   counsel, copies of the documents sent by the Receiver to that counsel’s client(s) will also be sent

   by e-mail to counsel who have not otherwise already received the documents.

                   i.      Notice to the Receiver of Current Address.

            It is the responsibility of Claimants, Administrative Claimants and other interested parties

   to keep the Receiver apprised with a current e-mail and mailing address in order to receive notices

   or other communication from the Receiver or the Receivership Estate. A link to the Change of

   Information Form will be found on the Receiver’s website. The completed Change of Information

   Form must be uploaded to the claims portal, sent to the Claims Agent by electronic mail, as an

   attachment in portable document format (.pdf), to parfunding@epiqglobal.com, or sent by mail

   addressed to Par Funding Receivership Claims Processing Center, c/o Epiq Corporate

   Restructuring, LLC, P.O. Box 4421, Beaverton, OR 97076-4421.

            7.     Claims Procedures for the Submission of a Proof of Claim. Except as otherwise

   ordered by this Court or provided herein, each Claimant and Administrative Claimant must

   properly complete and sign a Proof of Claim Form which, together with supporting documentation,




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   must be timely submitted to the Receiver’s Claims Agent by: (i) online submission to the Claims

   Portal, which is available on the Receiver’s website (www.parfundingreceivership.com); (ii) mail

   addressed to Par Funding Receivership Claims Processing Center, c/o Epiq Corporate

   Restructuring, LLC, P.O. Box 4421, Beaverton, OR 97076-4421; or (iii) courier service addressed

   to Par Funding Receivership Claims Processing Center, c/o Epiq Corporate Restructuring, LLC,

   10300 SW Allen Blvd., Beaverton, OR 97005, such that if submitted through the claims portal or

   sent by courier service, it is delivered to the Claims Agent no later than the Claims Bar Date, or if

   sent by mail, it is postmarked no later than the Claims Bar Date.

          If a Claimant or Administrative Claimant chooses to submit a Proof of Claim by by courier

   service, they should retain evidence the Proof of Claim was delivered to the Claims Agent no later

   than the Claims Bar Date. If they choose to submit a Proof of Claim by mail, it is recommended

   that they submit their Proof of Claim by certified or registered mail and retain evidence that the

   Proof of Claim was postmarked no later than the Claims Bar Date.

          Any custodian of individual retirement accounts (“IRA”) that has a potential claim against

   the Receivership Entities may submit a Proof of Claim, in bulk, on behalf of all of its various

   account holders in any alternate format mutually agreed upon by the Receiver and the IRA

   custodian, provided however that the IRA custodian must submit the Proof of Claim to the

   Receiver or his Claims Agent no later than the Claims Bar Date. In the event the Receiver and an

   IRA custodian are unable to agree on an alternate form for a bulk claim, the IRA custodian must

   submit a Proof of Claim on behalf of each of its account holders according to the general

   procedures applicable to all Claimants, as otherwise detailed herein.

          8.      Required Supporting Documentation for the Proof of Claim. Each submitted

   Proof of Claim shall include attached copies of all available documents that support such Proof of




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   Claim. Such documentation may include, but is not limited to: copies of personal checks, cashier’s

   checks, wire transfer advices, and other documents evidencing the investment of funds; copies of

   each signed investment contract; copies of all agreements, promissory notes, purchase orders,

   invoices, itemized statements of running accounts, contracts, court judgments, mortgages, security

   agreements, evidence of perfection of lien; Form 1099s, Schedule K-1s, or other similar tax forms

   related to any investment in, ownership of, or receipt of principal or interest from one of the

   Receivership Entities; and other documents evidencing the amount and basis of the Claim. In

   addition, the Proof of Claim shall include a Form W-9, Form W-8, or other similar IRS form to

   confirm the Claimant’s name, address, and taxpayer identification number (TIN).

          As applicable, supporting documentation must also include a chronological accounting of

   any payments received from any of the Receivership Entities, whether such payments were

   denominated as the return of principal, interest, commissions, finder’s fee, or otherwise, indicating

   the date and amount of each withdrawal or payment. Investors must include such information

   starting from at least January 1, 2017, through July 27, 2020. If supporting documentation is not

   available, the Proof of Claim must include an attachment explaining why the documentation is

   unavailable. Claimants should include their name on every document submitted.

          Claimants should only send copies, and should not send original documents, for any

   supporting documentation they include with their Proof of Claim.

          Each Proof of Claim Form must satisfy certain minimum standards in order to establish a

   Claim and be eligible to receive a distribution pursuant to a Court-approved distribution plan.

   Accordingly, the more directly relevant information a Proof of Claim includes, the easier it will be

   for the Receiver to validate the Proof of Claim.




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          9.      Materials That Should Not Be Submitted with a Proof of Claim. Proofs of

   Claim should not include the following types of materials, unless requested by the Receiver or the

   Claims Agent: (i) marketing brochures and other marketing materials received from one of the

   Receivership Entities, (ii) routine or form correspondence received from one of the Receivership

   Entities, (iii) copies of pleadings on file in this case or other cases related to the Receivership or

   the Receivership Estate, and (iv) other documents received from the Receivership Estate that do

   not reflect specific information concerning the existence or amount of a Claim.

          10.     The Proof of Claim Must Identify the Appropriate Receivership Entity. A

   Claimant or Administrative Claimant who is required to submit a Proof of Claim and who

   reasonably believes they hold or may hold a Claim against one or more of the Receivership Entities

   must file separate claims against each of the Receivership Entities against which a Proof of Claim

   is asserted. In addition, if an investor in an Agent Fund submits a Proof of Claim, that investor

   should identify the particular Agent Fund through which they invested in one of the Receivership

   Entities. The failure to identify the correct entity(ies) on a Proof of Claim Form may be grounds

   for objection to, and disallowance of, such Proof of Claim.

          11.     Effect of Failure to Submit a Proof of Claim Before Claims Bar Date. Any

   Claimant or Administrative Claimant who is required to submit a Proof of Claim, but fails to do

   so in a timely manner or in the proper form, shall: (a) be forever barred, estopped, and enjoined to

   the fullest extent allowed by applicable law from asserting, in any manner, any Claim against any

   of the Receivership Entities, the Receivership Estate, or its assets; and (b) shall not receive any

   distribution from or have standing to object to any distribution plan proposed by the Receiver.

   Further, the Receiver shall have no further obligation to provide any notices on account of such




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   Claim and the Receivership Estate is discharged from any and all indebtedness or liability with

   respect to such Claim.

          The proposed Claims Bar Date, the Notice of Claims Bar Date and procedures for

   submitting a Proof of Claim, and the Proof of Claim Form are not unduly burdensome or

   uncommon in matters of this nature. It is important to the efficient and orderly administration of

   the receivership that Proofs of Claim are timely and properly submitted and that Proofs of Claim

   not timely or properly submitted be disallowed. Establishment of the Claims Bar Date is necessary

   in order for the Receiver and the Court to determine those individuals and entities that will be

   entitled to share in distributions under a Court-approved plan.

          12.     Request for Additional Information. If at any time after receiving a timely Proof

   of Claim, the Receiver determines that additional information is needed to assess and process a

   Claim, the Receiver or his Claims Agent may contact the Claimant or Administrative Claimant (or

   counsel, if one is designated) by telephone, mail, or e-mail at the contact information provided in

   the Proof of Claim Form to request such additional information.

          13.     Notice of Deficiency. Prior to filing an objection with the court seeking to disallow

   a Claim, the Receiver may in his sole and absolute discretion send to a Claimant or Administrative

   Claimant (and to counsel, if one is designated), to such address or e-mail address as provided in

   the Proof of Claim Form, a written Notice of Deficiency that specifically identifies the information

   required to assess and process the Claim. Should the Receiver determine he needs additional

   information from a Claimant who was sent a Notice of Receiver’s Initial Determination, the

   Receiver may send a Notice of Deficiency to that recipient. The Notice of Deficiency will further

   state that the Claim will be disallowed, without the Receiver having to file an objection to the




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   Claim, if the additional information is not provided to the Receiver within thirty (30) calendar days

   of the date of the Notice of Deficiency.

          14.     Attempt to Resolve Objection. The Claimant or Administrative Claimant are

   directed to work in good faith with the Receiver to resolve any disputes about the Claim before

   submitting them to the Court for determination.

          15.     Filing of Objection with Court. If the Receiver is unable to resolve any disputes

   about a Claim, the Receiver shall file a written objection to the Claim with the Court. The objection

   shall include: (i) a detailed statement of the reasons for the Receiver’s objection, and (ii) copies of

   any document or other writing upon which the Receiver relies.

          16.     Court Ruling on Determinations and Objections.                     The Claimant or

   Administrative Claimant’s response to the Receiver’s claim objection shall be filed with the Court,

   and with a copy served on the Receiver and his counsel, within 20 calendar days of the date on

   which the Receiver filed his written objection to the Claim. The Receiver shall have 10 calendar

   days to file and serve his reply.

          17.     Limitation on Discovery and Motion Practice. Prior to the Receiver’s filing of

   an objection to a Claim, no discovery, motion practice, or other claims litigation shall occur unless

   the Claimant or Administrative Claimant first seeks and obtains leave of Court, upon a showing

   of good cause and substantial need for such relief.

          18.     Consent to Jurisdiction. Submission of a Proof of Claim in this case constitutes

   consent to the jurisdiction of the Court for all purposes and constitutes agreement to be bound by

   its decisions, including, without limitation, a determination as to the extent, validity and amount

   of any Claim asserted against the Receivership Estate. The submission of a Proof of Claim shall




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   constitute consent to be bound by the decisions of the Court as to the treatment of the Claim in a

   Court-approved distribution plan.

           19.     Authority to Compromise and Settle. The Receiver shall have the authority to

   compromise and settle claims from any Direct Claimant or Administrative Claimant, or resolve

   any Notice of Deficiency, at any time, as appropriate, without further order of this Court. The

   Receiver, at his discretion, may file a motion seeking Court approval of any compromise or

   settlement of a Claim. All parties to this proceeding are directed to cooperate with the Receiver to

   the maximum extent possible to achieve swift resolution of disputes concerning claims without

   the need for a determination by the Court.

           20.     Reservation of Rights. Nothing herein shall prejudice any right of the Receiver to

   dispute, or assert offsets or defenses as to the extent, validity, or priority, or otherwise against

   amounts asserted in any Proof of Claim, including but not limited to the manner in which accounts

   will be aggregated and Claims treated under a Court-approved distribution plan. Nothing contained

   herein is intended to preclude the Receiver from objecting to any Claim on any grounds. Subject

   to approval of the Court, the Receiver retains the sole and absolute right to propose a plan of

   distribution.

           DONE AND ORDERED in Fort Lauderdale, Florida, this _____ day of ________, 202__.


                                                 ________________________________
                                                 RODOLFO A. RUIZ II
                                                 UNITED STATES DISTRICT JUDGE
   Copies to: Counsel of record




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